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 4
                                    UNITED STATES DISTRICT COURT
 5
                                          DISTRICT OF NEVADA
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       VEM YENOVKIAN,                                            Case No. 2:24-cv-00170-RFB-DJA
 8
                           Plaintiff,                                         ORDER
 9
               v.
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       JP MORGAN CHASE AND CO.,
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                          Defendant.
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              Before the Court for consideration is the Report and Recommendation (ECF No. 13) of the
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       Honorable Daniel J. Albregts, United States Magistrate Judge, entered on June 3, 2024. A district
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       court “may accept, reject, or modify, in whole or in part, the findings or recommendations made
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       by the magistrate.” 28 U.S.C. § 636(b)(1). A party may file specific written objections to the
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       findings and recommendations of a magistrate judge. 28 U.S.C. § 636(b)(1); Local Rule IB 3-2(a).
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       When written objections have been filed, the district court is required to “make a de novo
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       determination of those portions of the report or specified proposed findings or recommendations
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       to which objection is made.” 28 U.S.C. § 636(b)(1); see also Local Rule IB 3-2(b). Where a party
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       fails to object, however, a district court is not required to conduct “any review,” de novo or
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       otherwise, of the report and recommendations of a magistrate judge. Thomas v. Arn, 474 U.S. 140,
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       149 (1985). Pursuant to Local Rule IB 3-2(a), objections were due by June 17, 2024. No objections
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       have been filed. The Court has reviewed the record in this case and concurs with all the Magistrate
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       Judge’s recommendations.
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 1
             IT IS THEREFORE ORDERED that the Report and Recommendation (ECF No. 13) is
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       ACCEPTED and ADOPTED in full.
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             IT IS FURTHER ORDERED that Defendant’s motion to dismiss (ECF No. 6) is
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       DENIED as moot.
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             IT IS FURTHER ORDERED that Plaintiff’s request to extend the deadline to respond to
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       Defendant’s Motion to Dismiss made in his omnibus motion (ECF No. 9) is DENIED as moot.
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             DATED: June 24, 2024.
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10                                                     __________________________________
                                                       RICHARD F. BOULWARE, II
11                                                     UNITED STATES DISTRICT JUDGE
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